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                                                                        March 17, 2021

VIA ECF
The Honorable Ronnie Abrams                                               Application granted. The sentencing
United States District Judge                                              is hereby adjourned until April 9,
United States District Court                                              2021 at 9:00 am.
Southern District of New York
500 Pearl Street                                                                                  SO ORDERED.
New York, New York 10007
                                                                                         ___________________
       Re:     United States v. Jason Mojica, 19 Cr. 280 (RA)                              Hon. Ronnie Abrams
                                                                                                March 18, 2021
Dear Judge Abrams,

         On March 16, 2021, the Court adjudged Mr. Mojica guilty of violating Specifications 3,
4, 5, 6, 7, and 10 of the Amended Violation Report and scheduled his sentencing for April 2,
2021 at 9:00 am, with defendant’s sentencing materials to be submitted by March 23rd and the
government’s submissions due March 30th.

        I write to request a one-week adjournment of the sentencing date and submission
deadlines. April 2nd falls during a public-school vacation week, during which I will have
parenting responsibilities preventing me from attending a virtual sentencing proceeding.
Accordingly, I respectfully request the sentencing be rescheduled for the morning of April 9,
2021 so that it would conclude by 12:30 p.m. Alternatively, I could be available at any time
outside the hours of 11 a.m. to 12:30 p.m. on April 12th, or at any time on April 13th or 15th. I
respectfully request that defendant’s sentencing materials be due March 25th and the
government’s submissions due April 1st.

       The government, through AUSA James Ligtenberg, indicated it has no objection to this
request.

       I thank the Court for its consideration of this letter motion.

                                                                        Respectfully submitted,


                                                                               /s

                                                                        Aaron Mysliwiec
                                                                        Attorney for Jason Mojica

cc:    AUSA James Ligtenberg (via ECF)
